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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                                    Criminal No.


UNITED STATES OF AMERICA,                           INDICTMENT

                      Plaintiff,                    18 U.S.C. $ 2
                                                    "18 u.s.c. $ 1591
       v.                                           18 U.S.C. $ 1594
                                                    2l u.s.c. $ 8s3
 1. ANTON JOSEPH LAZZARO,                           28 U.S.C. S 246r
    a/WaTony Lazzaro,
    alUaTony,                                                                                               -*,
 and                                                                                                          I

2. GISELA CASTRO MEDINA,                                                                                     .i
    a/k/a Gisela Medina,
                                                                                                              L

                      D6fendants.
                                                                                                              t
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       THE UNITED STATES GRANO JUNY CHARGES THAT:


                                     COUNT 1
                   (Conspiracy To Commit Sex Trafficking of Minors)

       1.      From in or about May 2020 through in or about December 2020, in the State

and District of Minnesota, the defendants,

                             ANTON JOSEPH LAZZARO,
                                 alk/aTony Lazzaro,
                                   alWa Tony, and                                                             l.
                             GISELA CASTRO MEDINA,
                                a/k/a"Gisela Medina.
                                                                                                              I
                                                                                        '                     i
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in and affecting interstate commerce, conspired with each other and others known             and             ,I

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unknown to the Grand Jury to knowingly recruit; entice, harbor, transport, provide,iobtain,
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                                                                                                              t,
maintain, patronize,and solicit minors, namely MINOR VICTIMS A', B, C, D, E, and F
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                                                                     u,s. Dtsrnicr couRi l,lpls

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knowing and in reckless disregard of the fact and having had a reasonable opportunity to

observe that MINOR VICTIMS A, B, C, D, E, and F had not attained the age of 18 years,

to engage in a commercial sex act, all in violation of Title 18, United States Code, Sections

1s91(a)(1), I 591(b)(2), I59l(c), and 159a(c).

                                               COUNT 2
                                       (Sex Trafficking of a Minor)

         2.       From in or about May 2020 through in or about           Juine   2020, in the State and

District of Minnesota, the defendants,

                                    ANTON JOSBPH LAZZAR),
                                        a/k/a Tony Lazzaro,
                                          alWa Tony, and
                                    GISELA CASTRO MEDINA.
                                       alWa Gisela Medina.

aiding and abetting one another, in and dffecting interstate commerce, knowingly recruited,

enticed, harbored, transported, provided, obtained, maintained, patronized, and solicited

MINOR VICTIM A to engage in a commercial sex act and attempted to do so; knowing

and in reckless disregard of the fact and having hada reasonable opportunity to observe

that MINOR VICTIM A had not attained the age of 18 years, all in violation of Title 18,

United States Code, Sections 1591(a)(1)           ,l5gI(bx2), 1591(c), 1594(a), and2.
                                               COUNT 3
                                       (Sex Trafficking of a Minor)

         3.       From in or about June of 2020 through in or about July of 2020,inthe State

and District of Minnesota, the         defendants,                    .




                                     ANTON JOSEPH LAZZAR]O,
                                        alWa Tony Lazz ro)
                                               alWz Tony" and
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.'   United States v. Anton Joseoh Lazzaro et al.


                                          GISELA CASTRO MEDINA,
                                              alUa Gisela Medina,

     aiding and abetting one another, in and affecting interstatO commerce, knowingly recruited,

     enticed, harbored, transported, provided, obtained, maintained, patronized, and solicited

     UfNOn VICTIM B to engage in a commercial sex act and attempted to do so, knowing

     and in reckless disregard of the fact and having had a reasonable opportunity to observe

     that MINOR VICTIM B had not attained the age                          of l8 years, all in violation of Title      18,


     United States Code, Sections          I 59 1 (a)( I ), I 59 I   (bX2), I59l(c), 1594(a), and 2.

                                                           COUNT       4
                                            (Sex Trafficking of a Minor)

             4.       From in or about June of 2020 through in or about October of 2020; in                            the    i
                                                                                                                              I
     State and District of Minnesota,.the defendants,

                                         ANTON JOSEPH LAZZAR),
                                             alkla Tony Lazzaro,
                                               alWa Tony, and
                                         GISELA CASTRO MEDINA,
                                                                                                                              i
                                            alWa Gisela Medina,
                                                                                                                              i
     aiding and abetting one another, in and affecting interstate commerce, knowingly                            recruited,
                                                                                                                              I
     enticed, harbored, transported, provided, obtained, maintained, patronized, and solicited
                                                                                                            'i
     MINOR VICTIM C to engage in commercial sex and attempted to do so, knowing and                                     in    I
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     reckless disregard of the fact and having had a reasonable opportunity to observe                                that    i
                                                                                                                              i
     MINOR VICTIM C had not attained the age of                      18 years,        all in violation of Title 18,'United

     States Code, Sections I 59 I (a)(      1   ),   I 59 I (bX2), | 59   1   (c),   I 5 94   (a), and 2.
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                                              COUNT 5
                                      (Sex Trafficking of a Minor)

        5.       From in or about July of 2020 throtgh in or about October of 2020, in the

State and District of Minnesota, the defendants,

                                   ANTON JOSEPH LAZZARO,,
                                      ,alUa Tony Lazzaro,,
                                         alWa Tony, and
                                   GISELA CASTRO MEDINA.
                                      zlWa Gisela Medina.

aiding and abetting one another, in and affecting interstate commerce, knowingly recruited,

enticed, harbor'ed, transported, provided, obtained, maintained, patronized, and sblicited

MINOR VICTIM D to engage in a commercial sex act and attempted to do so, knowing

and in reckless disregard of the fact and having had a reasonable opportrrnity to observe

that MINOR VICTIM D had not attained the age of 18 years, all in violation of Title 18,

United States Code, Sections 1591(a)(1), 1591(b)(2),l59l(c),1594(a),               and2.         4




                                              COUNT 6
                                      (Sex Trafficking of a Minor)

        6.       From in or about July           of   2020through in or about October   of   2020t,in the

State and District of Minnesota, the defendants,

                                   ANTON JOSEPH LAZZAP(O,
                                       alWa Tony Lazzaro,
                                         alWa Tony, and
                                   GISELA CASTRO MEDINA,
                                      alWa Gisela Medina,

aiding and abetting one another, in and affecting interstate commerce, knowingly recruited,

enticed, harbored, transported, provided, obtained, maintained, patronized, and solicited

MINOR VICTIM E to engage in a commercial sex act and attempted to do so, knowing
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and in reckless disregard of the fact and having had a reasonable opportunity to obs'erve                              r
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that MINOR VICTIM E had not attained the age of                      l8   years, all in violation of Title 18,        f
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                                                                                                                 *N
United States Code, Sections 1591(a)(1), 1591(b)(2),1591(c), 1594(a) and2.
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                                                 COUNT 7                                                              +

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                                    (Attempted Sex Trafficking of a Minor)                                            3

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        7   .      From in or about August of 2020 through in or about November of 2020, in                           t
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the State and District of Minnesota. the defendant.
                                                                                                                       I
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                                         ANTON JOSEPH LAZZARO,                                                         I
                                                                                                                       r
                                             alUa Tonv Lazzaro.
                                                 alWa Tony,                                                           l
                                                                                                                      t
                                                                                                                      I
in and affecting         interstate commerce, knowingly attempted                to recruit, entice,   harbor,        i"
                                                                                                                       r
                                                                                                                       i

                                                                                                                      i
transport, providb, obtain, maintain, patronize, and solicit MINOR VICTIM F to enlage in

a commercial sex act and attempted                  to do so, knowing and in reckless disregard of the fact
                                                                                                                      t'
and having had a reasonable opportunity                    to observe that MINOR VICTIM F had not
                                                                                                                      1



                         of l8
                                                                                                                      1.
attained the age                   yqars, all in.violation of     Title 18, United    States Code, .Sections          ?

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1591(a)(1), 1591(bX2), l59l(c), and l59a@).                                                                           I



                                          rr.* r*ffilstruction)
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        8.            ln or about JuJy 2020, in the State and District of Minnesota,                       the         r


                                                                                                                       t
defendant,                                                                                                            :
                                                                                                                      t
                                         ANTON JOSEPH-LAZZARO,
                                            alWa Tony Lazzaro,
                                                alk/a Tony,
                                                         'l
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knowingly and intentionally obstructed, and attempted to obstruct, and knowingly and

intentionally interfered with and prevented the enforcement of Title 18, United        States


Code, Section 1591(a), all in violation of Title 18, United States Code, Sections 1591(d).

                                         COUNT     9
                              (Sex Trafficking - Obstruction)

       9.      In or about October of 2020, in the State and District of MinneSota,       the

defendant,

                             ANTON JOSEPH LAZZARO,
                                alWa Tony Lazzaro,
                                    alWa Tony,

knowingly and intentionally obstructed, and attempted to obstruct, and knowin$ly and

intentionally interfered with and prevented the enforcement of Title 18, United        States


Code, Section 1591(a), all in violation of Title 18, United States Code, Section f Slf lA;.



                                        COUNT 10
                              (Sex Trafficking - Obstruction)

       10. In or about March of 2021, in the State and           District of Minnesota, the

defendants,

                             ANTON JOSEPH LAZZARO,
                                 alWa Tony Lazzaro,
                                   alWa Tony, and
                             GISELA CASTRO MEDINA,
                                alWa Gisela Medina.

aiding and abetting one another, knowingly and intentionally obstructed, and attempted to

obstruct, and knowingly and intentionally interfered with and.prevented the enforcement




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        of Title 18, United States Code, Section 1591(a), all in violiition of Title 18, United States

        Code, Sections 1591(d) and2.

                                              FORFEITURE ALLEGATIONS
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                 11.        Counts    1   through 10 of this Indictment are fully set forth herein by reference,
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        for the purpose of alleging forfeitures pursuant to Title 18, United States Code, Section                   I
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        ts94.
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                As a result of the offenses charged in Counts              I   through 10, the defendants shall
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        forfeii the following property to the United States pursuant to Title 18, United States Code,              jr
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        Section 1594
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                 (1)        Airy propefi, real or peisonal, involved in, used or intended to be used to
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                            commit or to facilitate the commission of the offbnses, and any pioperty               iI
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                "           traceable to such prbperty; and
a
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                 (2)        Any propefi, real or personal, constituting or derived from, any proceeds               !r

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;
        '                   obtained, directly or indirectly, as a result of the offenses, or any properfy         'f.
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                            traceable to such property.                                                            $

    L


                 The property subject to forfeiture includes, birt is not limited to:

                            the real properfy located     at20l l lth   Street South, #1920, Minneapolis, MN
                Ia)
                            55   402, with property ID number .27 -029 -24' | 4-0   589;


                 (b)
                        "   a2010 Ferrari convertible, VIN ZFF65LIA9A0I73846;

                 (c)        $371,240.00 in U.S. Currency seized from 201             1lth Street South,'#1920,

                            Minneapolis, MN 55402 on December 15, 2020;
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         (d) a Microsoft Windows Surface Pro-1645 Tablet, serial number
                  005260t51452;

         (e)      a   Blackberry cellphone, serial number I16383l9l7;

         (0       a black   Apple iPhone cellphone, serial number DNPVH35SHG7l;

         (e)      an Alcatel TCL cellphone, serial number 15145008637858;

         (h)      a   Xiamoi cellphone, serial number 1884828\rN00206;

         (i)      4 Thumb Drives seized from 201 l   lth Street South, #1920, Minneapolis, MN

                  55402 on December 15. 2020:

         (')      14 SD Cards seized from 201     llth   Street South, #1920, Minneapolis, MN

                  55402 on December 15" 2020:

         (k)      a   silver Dell XPS laptop, serial number 6KGP9H2114298070070;

         (l)      a   Dell Inspiron 3593 laptop, serial number JVMV943143211725539;

         (m)      a graylblack Motorola Moto e5 cellphone, serial number ZY323G7XXF;

         (n)      a   white/black Motorola One cellphone, IMEI: 352169100855557;

         (o)      an LG     LM-X2l0APM cellphone, serial number 001VTYK861266;

         (p)      an   Apple iPhone model A1662 cellphone seized from 201 1lth Street South,

                  #1920, Minneapolis, MN 55402 on December 15, 2020;

         (q)      an LG model LM-X210APM cellphone, serial number 809VTFW4LL65I;

         (r)      a black/silver Apple iPhone, model A1549 seized from 201           llth Street
                  South, #1920, Minneapolis,   MN 55402 on December      15, 2020;

         (s)      a   Bittium Tough Mobile 2 cellphone with IMEI: 357320100013706;
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                                                                                             r.   l

             (t)        a GPS tracker seized from 201           1lth Street Southi #1920, Minneapolis, MN
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                        55402on December'15, 2020',

             (u)        a   Blackberry cellphone with'\Z GB SD Card with IMEI: 015103000107958;

            (v)         a   Microsoft Windows Surface tablet with charging cord seized from 2b I 1 lth

                   '"
                        Street South, #1920, Minneapolis,         MN 55402 on December'15, 2020;

"           (w)         an Apple iPhone 11, serial number         FK2ZJ2BINT2J;

            (x)         an Appie iPad Pro-A1701          with charger, serial number DMPVP02WJ28N;
                                                                                                   ;


                        and
                                 j

            (V) an Apple Macbook Air-A2119 with charger, serial                                   number

                   ,    CO}DTEUDMNIHP.

    u       If,any of the above-described. forfeitable irroperty is unavailable for forfeiture, the                       ,
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'   United States intends to seek the forfeiture of substitute property as provided for in Title
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    21, United States Code, Section 853(p), as incorporated by Titlir 28, United States Code,                             i
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    Section   2a6l@).                              ,
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    ACTING UNITE,D STATES                 ATTORNEY                FOREPERSON                                               I
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